                            EXHIBIT C




Case 3:05-cv-00444 Document 158-3 Filed 04/27/10 Page 1 of 13 PageID #: 3350
 Case 1:04-cv-10981-PBS   Document 2417-4    Filed 01/22/2010   Page 1 of 12




Case 3:05-cv-00444 Document 158-3 Filed 04/27/10 Page 2 of 13 PageID #: 3351
 Case 1:04-cv-10981-PBS   Document 2417-4    Filed 01/22/2010   Page 2 of 12




Case 3:05-cv-00444 Document 158-3 Filed 04/27/10 Page 3 of 13 PageID #: 3352
 Case 1:04-cv-10981-PBS   Document 2417-4    Filed 01/22/2010   Page 3 of 12




Case 3:05-cv-00444 Document 158-3 Filed 04/27/10 Page 4 of 13 PageID #: 3353
 Case 1:04-cv-10981-PBS   Document 2417-4    Filed 01/22/2010   Page 4 of 12




Case 3:05-cv-00444 Document 158-3 Filed 04/27/10 Page 5 of 13 PageID #: 3354
 Case 1:04-cv-10981-PBS   Document 2417-4    Filed 01/22/2010   Page 5 of 12




Case 3:05-cv-00444 Document 158-3 Filed 04/27/10 Page 6 of 13 PageID #: 3355
 Case 1:04-cv-10981-PBS   Document 2417-4    Filed 01/22/2010   Page 6 of 12




Case 3:05-cv-00444 Document 158-3 Filed 04/27/10 Page 7 of 13 PageID #: 3356
 Case 1:04-cv-10981-PBS   Document 2417-4    Filed 01/22/2010   Page 7 of 12




Case 3:05-cv-00444 Document 158-3 Filed 04/27/10 Page 8 of 13 PageID #: 3357
 Case 1:04-cv-10981-PBS   Document 2417-4    Filed 01/22/2010   Page 8 of 12




Case 3:05-cv-00444 Document 158-3 Filed 04/27/10 Page 9 of 13 PageID #: 3358
 Case 1:04-cv-10981-PBS    Document 2417-4    Filed 01/22/2010   Page 9 of 12




Case 3:05-cv-00444 Document 158-3 Filed 04/27/10 Page 10 of 13 PageID #: 3359
 Case 1:04-cv-10981-PBS   Document 2417-4    Filed 01/22/2010   Page 10 of 12




Case 3:05-cv-00444 Document 158-3 Filed 04/27/10 Page 11 of 13 PageID #: 3360
 Case 1:04-cv-10981-PBS   Document 2417-4    Filed 01/22/2010   Page 11 of 12




Case 3:05-cv-00444 Document 158-3 Filed 04/27/10 Page 12 of 13 PageID #: 3361
 Case 1:04-cv-10981-PBS   Document 2417-4    Filed 01/22/2010   Page 12 of 12




Case 3:05-cv-00444 Document 158-3 Filed 04/27/10 Page 13 of 13 PageID #: 3362
